Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 1 of 7 PagelD# 5564

EXHIBIT R
Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 2 of 7 PagelD# 5565

Message

From: Christian Adams [§j@electionlawcenter.com]

Sent: 10/11/2016 2:38:09 PM

To: ‘Ginni' BMC libertyinc.co] -

cc: ‘Steve Albertson’ [ME @ gmail.com]; Janice Rurup' HE judiciatwatch.org]
Subject: RE: Don't Forget: Membership Meeting TOMORROW!

Virginia Noncitizen Voters, the state cover up and the Republican response

From: Ginni [mailto fi |ibertyinc.co]
Sent: Tuesday, October 11, 2016 10:31 AM
To: Christian Adams 4 @electionlawcenter.com>

Cc: Steve Albertson {i gmail.com>; Janice Rurup {NP judicialwatch.org>

Subject: Re: Don't Forget: Membership Meeting TOMORROW!

GREAT - tell us quickly what you want to title this and how much
time you need, Christian.

Janice is preparing the email to go out shortly.

Ginni Thomas
888-900-7611

Daily Caller News Foundation a. ailycallernewsfoundation.org &

Liberty Consulting /JMM@libertyinc.co /
5765F Burke Centre Parkway #302, Burke, VA 22015
My Public Facebook Page and the archive of interviews at Daily Caller is here.

Just Posted: Six specific examples of the Clinton's pay to play efforts to use public office for private gain,
from Clinton Cash author, Peter Schweizer! Click here.

On Tue, Oct 11, 2016 at 10:28 AM, Christian Adams 4gg@electionlawcenter.com> wrote:

| could if you think it is good. It’s also a great chance to explain how the Republicans are incapable of doing anything on
this issue because they, well, are Republicans. Phone is probably best as | have to go to Oregon Thursday for a fed soc
event and will be out of the office 2 days.

From: Ginni [mailto libertyinc.co
Sent: Tuesday, October 11, 2016 10:22 AM
To: Christian Adams q§@electionlawcenter.com>

Cc: Steve Albertson quai @ gmail.com>; Janice Rurup BRE @ iudicialwatch.org>

Subject: Re: Don't Forget: Membership Meeting TOMORROW!

Christian,

Do you want to do an update tomorrow at Groundswell on election
integrity? By phone or in person?

CONFIDENTIAL SA-001-001071
Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 3 of 7 PagelD# 5566

Ginni Thomas

888-900-7611
Daily Caller News Foundation

Liberty Consulting /

5765F Burke Centre Parkway #302, Burke, VA 22015
My Public Facebook Page and the archive of interviews at Daily Caller is here.

Just Posted: Six specific examples of the Clinton's pay to play efforts to use public office for private gain,
from Clinton Cash author, Peter Schweizer! Click here.

On Tue, Oct 11, 2016 at 10:17 AM, Christian Adams {§@electionlawcenter.com> wrote:

Reagan and | have talked daily. There is a legislative hearing on Thursday the GOP is holding. They shouldn’t but
that’s another story. .

From: Ginni [mailto libertyinc.co}

Sent: Tuesday, October 11, 2016 10:00 AM
To: J. Christian Adams J @electionlawcenter.com>; Steve Albertson
Subject: Fwd: Don't Forget: Membership Meeting TOMORROW!

Wondering if you are both connected to Reagan George and this
effort in VA to do what can be done at this late date...

Ginni Thomas

888-900-7611
Daily Caller News Foundation HF dailycallernewsfo
Liberty Consulting / @libertyinc.co /

5765F Burke Centre Parkway #302, Burke, VA 22015
My Public Facebook Page and the archive of interviews at Daily Caller is here.

just Posted: Six specific examples of the Clinton's pay to play efforts to use public office for private gain,
from Clinton Cash author, Peter Schweizer! Click here.

---------- Forwarded message ----------

From: Middle Resolution @middleresolution.org>
Date: Tue, Oct 11, 2016 at 9:00 AM

Subject: Don't Forget: Membership Meeting TOMORROW!

To ME Olibertyinc.co

CONFIDENTIAL SA-001-001072
Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 4 of 7 PagelD# 5567

CONFIDENTIAL SA-001-001073
Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 5 of 7 PagelD# 5568

Dear Friends of the Middle Resolution,

We don't want you to forget about our Membership Meeting
TOMORROW! We will have special guest, Reagan George, from the
Virginia Voters Alliance discussing the very real and important issue of

Voter Fraud. Coffee, Juice, and Pastries will

be served, so you won't want to be late!

When. TOMORROW, October 12, 2016
Time: 7-9AM,

Where: Historic Hanover Tavern (13181 Hanover Courthouse Rd.
Hanover, VA 23069)

Agenda:

- Virginia Voter Registration Project

- Upcoming Elections

~ Preparing for the 2017 General Assembly Session

~ Four Points to Consider Before Voting on Election Day
~ Review of 2 Proposed Amendments to VA's Constitution on 2016's
Ballot

- Special Guest Speaker: Reagan George of Virginia

Voters Allance

Topic: Voter Fraud in Virginia is Real, and We're
Doing Something About It

We have so much to discuss and prepare for! Your presence Is

greatly appreciated and encouraged, as none of what we have or

will accomplish could be done without vou!

CONFIDENTIAL SA-001-001074
Case 1:18-cv-00423-LO-IDD Document 160-18 Filed 05/17/19 Page 6 of 7 PagelD# 5569

wee YOU TOMOrrOw!

Sincerely,

Your Middle Resolution Team,

The Middle Resolution
P.O. Box 479
Mechanicsville, VA 23111
P: 804-746-1508

F: 804-730-4780

Facebook

Twitter

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Website

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emai regarding important elections and legisiation happening in Virginia.

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Middle Resolution PAC

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Mechaniceville, VA 234144

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